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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



 Mahmoud KHALIL, Petitioner,

 v.

 Donald J. TRUMP, in his official capacity
 as President of the United States; William P.
 JOYCE, in his official capacity as Acting
 Field Office Director of New York,
 Immigration and Customs Enforcement;1
 Caleb VITELLO, Acting Director, U.S.
 Immigration and Customs Enforcement;                   Case No. 2:25-cv-1963-MEF
 Kristi NOEM, in her official capacity as
 Secretary of the United States Department of
 Homeland Security; Marco RUBIO, in his
 official capacity as Secretary of State; and
 Pamela BONDI, in her official capacity as
 Attorney General, U.S. Department of
 Justice.,




 MOTION OF INTERNATIONAL LAW PROFESSORS, EXPERTS, PRACTITIONERS,
 AND SCHOLARS FOR LEAVE TO FILE AN AMICI CURIAE BRIEF IN SUPPORT OF
        PETITIONER’S MOTION FOR A PRELIMINARY INJUNCTION


       International law professors, experts, practitioners and scholars, listed in full below,

respectfully move before the Honorable Michael E. Farbiarz, United States District Judge at the

Martin Luther King Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ, for an order

granting leave to file a brief amicus curiae in support of the petitioner’s Motion for a preliminary

injunction in the above-captioned proceeding as soon as practicable based upon the parties
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proposed schedule (ECF 84) but no later than the regular April 21, 2025 motion day. Counsel for

Petitioners and Respondents have been contacted and do not take a position on this motion.


                                        INTEREST OF AMICI CURIAE

         Amici curiae are international law and human rights professors, experts, practitioners, and

scholars. Amici respectfully submit this brief to provide the Court with analysis of the international

law issues at stake in this case. Amici have a strong interest in the outcome of this case and its impacts

on human rights. Amici are profoundly concerned that this case threatens universal human rights

protected by international law, including the rights to opinion, expression, association, and assembly

on a nondiscriminatory basis. Some Amici themselves fear retaliation for exercising these rights,

including in relation to signing onto this amicus. Amici know other similarly qualified individuals

who wanted to join in this brief, but felt that they could not do so for fear of retaliation, including

arrest or deportation.


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 Institutional affiliation is provided for identification purposes only. The positions taken in this brief are those of
amici alone and should not be attributed to any institution with which amici are or have been affiliated.
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Amici respectfully request that the Court grant leave to file the attached amicus brief in

support of Plaintiffs’ Opposition to the Government’s Statement of Interest.


DATED: March 26, 2025                                 Respectfully submitted
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